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                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
 SONY MUSIC ENTERTAINMENT, et al.,

                  Plaintiffs,

         v.                                                Case No. 1:18-cv-00950-LO-JFA

 COX COMMUNICATIONS, INC., et al.,

                  Defendants.


              DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL EXHIBITS

        Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox”) hereby

submits, pursuant to the Court’s Order Modifying the Pretrial Schedule (ECF No. 223), its

objections to the trial exhibits of Plaintiffs.

                                     GENERAL OBJECTIONS

        1.       Certain of Plaintiffs’ Exhibits are and/or will be the subject of Cox’s motion for

summary judgment, motions in limine, Daubert motions, and/or any other pre-trial or trial motions,

which may be dispositive of the objections below. Cox reserves the right to file such motions.

        2.       Cox objects to all documents and things identified as Exhibits by Plaintiffs and

intended to be used as Exhibits that include documents or information not previously produced to

Cox.

        3.       Cox objects to all documents and things identified as Exhibits by Plaintiffs and

intended to be used as Exhibits that are inconsistent with the terms of the scheduling order, the

rules of the Court, the protective order in this case, or any agreement of the parties.
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        4.      Cox reserves the right to supplement or modify its objections to any Exhibits based

on pretrial rulings, rulings during the course of trial, or depending upon how Plaintiffs use the

Exhibit at trial.

        5.      Cox reserves the right to object to any exhibit not identified on this Exhibit List or

not provided to Cox prior to the filing of these objections.

        6.      Cox reserves the right to seek a limiting instruction for the use of any of Plaintiffs’

Exhibits at trial.

        Cox’s Specific Objections to Plaintiffs’ Exhibits are attached hereto as Exhibit A.

        The following chart sets forth Cox’s abbreviations for its Specific Objections:

 Abbreviation         Objection
 A                    Authentication
 AC                   Attorney-client privilege / work product
 C                    Composite / not a single document
 CD                   Corrupt document; document altered by counsel; integrity of document lost
 CM                   Cumulative; duplicative of other exhibit(s) on exhibit list
 DNP                  Not produced during discovery
 DH                   Double hearsay
 E                    Improper expert opinion
 F                    Foundation
 H                    Hearsay
 ID                   Exhibit list contains insufficient identification for the use of this exhibit at
                      trial
 IE                   Improper exhibit
 INC                  Incomplete document
 IO                   Incompetent, incomplete, irrelevant, or improper legal opinion
 IQ                   Illegible / poor quality
 O                    Improper opinion
 OR                   Objection reserved
 P                    Prejudicial
 PSO                  See prior stated objections in the exhibit
 R                    Relevance
 U                    Untimely produced
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Dated: August 29, 2019                     Respectfully submitted,

                                           /s/ Thomas M. Buchanan /
                                           Thomas M. Buchanan (VSB No. 21530)
                                           WINSTON & STRAWN LLP
                                           1700 K Street, NW
                                           Washington, DC 20006-3817
                                           Tel: (202) 282-5787
                                           Fax: (202) 282-5100
                                           Email: tbuchana@winston.com

                                           Attorney for Defendants Cox
                                           Communications, Inc. and CoxCom, LLC

Of Counsel for Defendants

Michael S. Elkin (pro hac vice)
Thomas Patrick Lane (pro hac vice)
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166-4193
Tel: (212) 294-6700
Fax: (212) 294-4700
Email: melkin@winston.com
Email: tlane@winston.com

Jennifer A. Golinveaux (pro hac vice)
Thomas J. Kearney (pro hac vice pending)
WINSTON & STRAWN LLP
101 California Street, 35th Floor
San Francisco, CA 94111-5840
Tel: (415) 591-1000
Fax: (415) 591-1400
Email: jgolinveaux@winston.com
Email: tkearney@winston.com

Diana Hughes Leiden (pro hac vice)
WINSTON & STRAWN LLP
333 S. Grand Avenue, Suite 3800
Los Angeles, CA 90071
Tel: (213) 615-1700
Fax: (213) 615-1750
Email: dhleiden@winston.com
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                                CERTIFICATE OF SERVICE

       I certify that on August 29, 2019, a copy of the foregoing DEFENDANTS’ OBJECTIONS

TO PLAINTIFFS’ EXHIBIT LIST was filed electronically with the Clerk of Court using the ECF

system, which will send notifications to ECF participants.



                                                    /s/ Thomas M. Buchanan
                                                    Thomas M. Buchanan (VSB No. 21530)
                                                    1700 K Street, NW
                                                    Washington, DC 20006-3817
                                                    Tel: (202) 282-5787
                                                    Fax: (202) 282-5100
                                                    Email: tbuchana@winston.com

                                                    Attorney for Cox Communications, Inc.
                                                    and CoxCom, LLC
